                            Case 17-32186 Document 357 Filed in TXSB on 06/12/17 Page 1 of 22
 Fill in this information to identify the case:

 Debtor name            Uplift Rx, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               17-32186
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           402,885.85

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           402,885.85


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       29,076,663.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            64,870.01


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         29,141,533.01




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Uplift Rx, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         17-32186
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $151.67



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Zions Bank                                              Checking                        2885                                             $0.00


                    Zions Bank
                    (in the name of the former entity Twin
           3.2.     Lakes Pharmacy, LLC)                                    Checking                        6225                                    $63,439.52


                    Wells Fargo Bank
                    (in the name of the former entity Twin
           3.3.     Lakes Pharmacy, LLC)                                    Checking                        6309                                     $8,285.87



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $71,877.06
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                         Case 17-32186 Document 357 Filed in TXSB on 06/12/17 Page 3 of 22

 Debtor           Uplift Rx, LLC                                                                  Case number (If known) 17-32186
                  Name

           Description, including name of holder of deposit


           7.1.     MGP Enterprises - seurity deposit                                                                                           $5,127.47




           7.2.     Global Realty & Management - security deposit                                                                               $2,787.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid shipping with Endicia                                                                                               $1,005.47




 9.        Total of Part 2.                                                                                                                 $8,919.94
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            163,271.00   -                                   0.00 = ....                 $163,271.00
                                              face amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                               174,775.00   -                           90,919.00 =....                      $83,856.00
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                              $247,127.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of         Valuation method used    Current value of
                                                      physical inventory         debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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                        Case 17-32186 Document 357 Filed in TXSB on 06/12/17 Page 4 of 22

 Debtor         Uplift Rx, LLC                                                                Case number (If known) 17-32186
                Name

 21.       Finished goods, including goods held for resale
           Inventory                                                                  $36,008.18                                          $36,008.18



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                           $36,008.18
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                      4525 Valuation method                          Current Value                          4525

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office furniture                                                             $8,169.28                                           $8,169.28



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $8,169.28
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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                        Case 17-32186 Document 357 Filed in TXSB on 06/12/17 Page 5 of 22

 Debtor         Uplift Rx, LLC                                                                Case number (If known) 17-32186
                Name



 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value          debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Miscellaneous equipment                                                     $1,268.63                                           $1,268.63



 51.        Total of Part 8.                                                                                                            $1,268.63
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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                        Case 17-32186 Document 357 Filed in TXSB on 06/12/17 Page 6 of 22

 Debtor         Uplift Rx, LLC                                                               Case number (If known) 17-32186
                Name

           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Zions Bank
           (in the name of the former entity Twin Lakes Pharmacy,
           LLC)
           ($29,515.76 siezed by US Attorney on 2/24/2017)                                                                        $29,515.76




 78.       Total of Part 11.                                                                                                   $29,515.76
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 5
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                          Case 17-32186 Document 357 Filed in TXSB on 06/12/17 Page 7 of 22

 Debtor          Uplift Rx, LLC                                                                                      Case number (If known) 17-32186
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $71,877.06

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $8,919.94

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $247,127.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $36,008.18

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $8,169.28

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $1,268.63

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $29,515.76

 91. Total. Add lines 80 through 90 for each column                                                            $402,885.85           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $402,885.85




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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                          Case 17-32186 Document 357 Filed in TXSB on 06/12/17 Page 8 of 22
 Fill in this information to identify the case:

 Debtor name          Uplift Rx, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)              17-32186
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                    Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
 2.1    Zions First National Bank                     Describe debtor's property that is subject to a lien                   $29,076,663.00          $27,303,400.00
        Creditor's Name                               1) term loan $19,719,689
        Corporate Banking Group                       2) revolving line of credit $9,356,974
        One South Main Street
        Suite 200
        Salt Lake City, UT 84133
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        6/24/2014                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                        Disputed




                                                                                                                               $29,076,663.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Brett Tolman
         Ray, Quinney & Nebeker                                                                                 Line   2.1
         36 South State Street
         Suite 1400
         Salt Lake City, UT 84111




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
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                        Case 17-32186 Document 357 Filed in TXSB on 06/12/17 Page 9 of 22
 Debtor       Uplift Rx, LLC                                                             Case number (if know)   17-32186
              Name

        Donald L. Rands
        Zions First National Bank                                                               Line   2.1
        One South Main Street
        Suite 200
        Salt Lake City, UT 84133




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                 page 2 of 2
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                       Case 17-32186 Document 357 Filed in TXSB on 06/12/17 Page 10 of 22
 Fill in this information to identify the case:

 Debtor name         Uplift Rx, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)           17-32186
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Harris County Tax Assessor                                Check all that apply.
           5300 Griggs Road                                             Contingent
           Houston, TX 77021                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     for notice purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Internal Revenue Service                                  Check all that apply.
           Centralized Insolvency Ops                                   Contingent
           PO Box 7346                                                  Unliquidated
           Philadelphia, PA 19101                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     for notice purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 5
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 Debtor       Uplift Rx, LLC                                                                                  Case number (if known)          17-32186
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           Texas Dept. of Revenue                                    Check all that apply.
           Texas State Comptroller                                      Contingent
           P.O. Box 13528                                               Unliquidated
           Austin, TX 78711-3528                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     for notice purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           Utah State Tax Commission                                 Check all that apply.
           210 North 1950 West                                          Contingent
           Salt Lake City, UT 84134                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     for notice purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $118.09
           ADT Security Services Inc.                                                  Contingent
           Po Box 371956                                                               Unliquidated
           Pittsburgh, PA 15250-7956                                                   Disputed
           Date(s) debt was incurred 2016-2017
                                                                                   Basis for the claim:     Other-Utility
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $742.27
           Anda, Inc                                                                   Contingent
           2915 Weston Rd                                                              Unliquidated
           Weston, FL 33331                                                            Disputed
           Date(s) debt was incurred     2016-2017                                 Basis for the claim:     Product
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $1,527.00
           Auburn Pharmaceutical Co                                                    Contingent
           PO Box 72216                                                                Unliquidated
           Cleveland, OH 44192-2216                                                    Disputed
           Date(s) debt was incurred 2017
                                                                                   Basis for the claim:     Product
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 5
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 Debtor       Uplift Rx, LLC                                                                          Case number (if known)            17-32186
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,122.00
          Blupax Pharmaceuticals, LLC                                           Contingent
          160 Raritan Center Parkway                                            Unliquidated
          Unit 1                                                                Disputed
          Edison, Nj 08837
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred 2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Comcast Business                                                      Contingent
          PO Box 7660618                                                        Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    for notice purposes
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,829.00
          Eqyinvest Owner II, Ltd, LLP                                          Contingent
          Copperfield Crossing- JP Morgan Chase Ba                              Unliquidated
          PO Box 730373                                                         Disputed
          Dallas, Tx 75373-0373
                                                                             Basis for the claim:    Other-G&A
          Date(s) debt was incurred 2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,445.47
          First Digital Telecom                                                 Contingent
          PO Box 1499                                                           Unliquidated
          Salt Lake City, UT 84110-1499                                         Disputed
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    IT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $848.28
          Foundation Systems, Inc                                               Contingent
          890 East 700 North                                                    Unliquidated
          American Fork, UT 84003                                               Disputed
          Date(s) debt was incurred 2016-2017
                                                                             Basis for the claim:    IT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,555.30
          IC Group                                                              Contingent
          4080 South 500 West                                                   Unliquidated
          Salt Lake City, UT 84123                                              Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Other-Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johnson & Johnson/LifeScan                                            Contingent
          Patterson Belknap Webb & Tyler LLP
                                                                                Unliquidated
          1133 Avenue of the Americas
          New York, NY 10036-6731                                               Disputed

          Date(s) debt was incurred                                          Basis for the claim:    potential claim
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 5
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 Debtor       Uplift Rx, LLC                                                                          Case number (if known)            17-32186
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,995.00
          Kross Pharmaceuticals                                                 Contingent
          5406 W 1100 N                                                         Unliquidated
          #103403                                                               Disputed
          Highland, UT 84003
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred 2016-2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,890.00
          Pharmaco Technology                                                   Contingent
          13727 Noel Road Tower II, Suite 200                                   Unliquidated
          Dallas, Tx 75240                                                      Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Product
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,590.83
          PharmaLink, Inc.                                                      Contingent
          11211 69th Street North                                               Unliquidated
          Largo, FL 33773                                                       Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Other
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75.00
          Rasi
          Registered Agent Solutions Inc                                        Contingent
          1701 Directors Blvd                                                   Unliquidated
          Suite 300                                                             Disputed
          Austin, TX 78744
                                                                             Basis for the claim:    Legal
          Date(s) debt was incurred 2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,533.96
          River City Pharma                                                     Contingent
          PO Box 713774                                                         Unliquidated
          Cincinnati, OH 45271-3774                                             Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Product
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Roche                                                                 Contingent
          Patterson Belknap Webb & Tyler LLP
                                                                                Unliquidated
          1133 Avenue of the Americas
          New York, NY 10036                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    potential claim
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,715.57
          RPH on the Go USA, Inc.                                               Contingent
          Dept. CH 14430                                                        Unliquidated
          Palatine, IL 60055-4430                                               Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Other-Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 5
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 Debtor       Uplift Rx, LLC                                                                          Case number (if known)            17-32186
              Name

 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $3,650.00
           Safeway Distributors, Inc.                                           Contingent
           15851 SW 41st St.                                                    Unliquidated
           Suite 600                                                            Disputed
           Davie, FL 33331
                                                                             Basis for the claim:    Product
           Date(s) debt was incurred 2017
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $162.98
           Staples Advantage                                                    Contingent
           PO Box 83689                                                         Unliquidated
           Chigcago, IL 60696-3689                                              Disputed
           Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Other-G&A
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           US Attorney                                                          Contingent
           111 South Main Street                                                Unliquidated
           Salt Lake City, UT 84111
                                                                                Disputed
           Date(s) debt was incurred 2/22/2017
                                                                             Basis for the claim:    product sales investigation
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $69.26
           XOOM Energy Texas                                                    Contingent
           PO Box 650411                                                        Unliquidated
           Dallas, Tx 75265-0411                                                Disputed
           Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Other-Utility
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                      related creditor (if any) listed?                  account number, if
                                                                                                                                                         any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                              0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                         64,870.01

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              64,870.01




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 5
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                       Case 17-32186 Document 357 Filed in TXSB on 06/12/17 Page 15 of 22
 Fill in this information to identify the case:

 Debtor name         Uplift Rx, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         17-32186
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   security services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                evergreen
                                                                                    ADT Security Services, Inc.
             List the contract number of any                                        PO Box 371878
                   government contract                                              Pittsburgh, PA 15250


 2.2.        State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest

                  State the term remaining                                          CVS Caremark
                                                                                    Provider Enrollment MC 129
             List the contract number of any                                        9501 E. Shea Blvd.
                   government contract                                              Scottsdale, AZ 85260


 2.3.        State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest

                  State the term remaining                                          EnvisionRx Options
                                                                                    2181 East Aurora Road
             List the contract number of any                                        Suite 201
                   government contract                                              Twinsburg, OH 44087


 2.4.        State what the contract or                   property lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                thru 5/31/2017            EQY Invest Owner II Ltd., LLP
                                                                                    Copperfield Crossing - JP Morgan Chase
             List the contract number of any                                        PO Box 730373
                   government contract                                              Dallas, TX 75373




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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 Debtor 1 Uplift Rx, LLC                                                                     Case number (if known)   17-32186
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest

                  State the term remaining                                           Express Scripts
                                                                                     Network Contracting Management
             List the contract number of any                                         One Express Way
                   government contract                                               Saint Louis, MO 63121


 2.6.        State what the contract or                   IT services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                thru 11/5/2017             FirstDigital Telecom
                                                                                     90 South 400 West
             List the contract number of any                                         Suite M-100
                   government contract                                               Salt Lake City, UT 84101


 2.7.        State what the contract or                   IT services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                thru 5/30/2018             FirstDigital Telecom
                                                                                     90 South 400 West
             List the contract number of any                                         Suite M-100
                   government contract                                               Salt Lake City, UT 84101


 2.8.        State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest

                  State the term remaining
                                                                                     Gateway Pharmacy Networks
             List the contract number of any                                         PO Box 307
                   government contract                                               Bellbrook, OH 45305


 2.9.        State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest

                  State the term remaining                                           MeridianRx
                                                                                     1 Campus Martius
             List the contract number of any                                         Suite 750
                   government contract                                               Detroit, MI 48226


 2.10.       State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest
                                                                                     Navitus
                  State the term remaining                                           2601 West Beltline Highway
                                                                                     Suite 600
             List the contract number of any                                         Madison, WI 53713
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 4
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 Debtor 1 Uplift Rx, LLC                                                                     Case number (if known)   17-32186
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.11.       State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest

                  State the term remaining                                           NetCard Systems/Welldyne
                                                                                     7472 S. Tucson Way
             List the contract number of any                                         Suite 100
                   government contract                                               Centennial, CO 80112


 2.12.       State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest

                  State the term remaining
                                                                                     OptumRx
             List the contract number of any                                         11000 Optum Circle
                   government contract                                               Eden Prairie, MN 55344-2503


 2.13.       State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest

                  State the term remaining
                                                                                     Pharmacy Data Management, Inc.
             List the contract number of any                                         1170 E. Western Reserve Road
                   government contract                                               Poland, OH 44514


 2.14.       State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest

                  State the term remaining
                                                                                     ProCare Rx
             List the contract number of any                                         1267 Professional Parkway
                   government contract                                               Gainesville, GA 30507


 2.15.       State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest

                  State the term remaining
                                                                                     Script Care LTD/Tredium Solutions
             List the contract number of any                                         6380 Folsom Drive
                   government contract                                               Beaumont, TX 77706


 2.16.       State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management                 Southern Scripts
             the debtor's interest                                                   407 Bienville Street
                                                                                     Natchitoches, LA 71457
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 3 of 4
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 Debtor 1 Uplift Rx, LLC                                                                     Case number (if known)   17-32186
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Pharmacy Benefit
             lease is for and the nature of               Management
             the debtor's interest

                  State the term remaining                                           US Script
                                                                                     5 River Park Place E.
             List the contract number of any                                         #210
                   government contract                                               Fresno, CA 93720




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Uplift Rx, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         17-32186
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      See Attachment                                                                      Zions First National               D   2.1
                                                                                                 Bank                               E/F
                                                                                                                                    G




    2.2      Marcus Pinnock                    5338 Cottonwood Lane                              EQY Invest Owner II                D
                                               Holladay, UT 84117                                Ltd., LLP                          E/F
                                                                                                                                    G   2.1




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 1
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                      Attachment to Schedule H
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